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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                                  CONSENT CASE

                                                   CASE NO. 21-60775-CIV-SNOW
  NICOLE JOHNSON, on behalf of herself
  and those similarly situated,

        Plaintiff,
  v.

  GONZO MARKETING SERVICES, LLC
  d/b/a GMS CONNECT,

        Defendant.
  _____________________________________/

                                       ORDER

        THIS CAUSE is before the Court on Plaintiff, Nicole Johnson, on behalf of

  herself and those similarly situated (“Plaintiff”), and Defendant, Gonzo Marketing

  Services, LLC d/b/a GMS Connect’s, (“Defendant”), Joint Motion for Approval of

  Settlement and Motion to Dismiss the Case with Prejudice. (ECF No. 37) The

  Honorable William P. Dimitrouleas referred this case to Magistrate Judge Lurana S.

  Snow to conduct all further proceedings including entry of judgment in accordance

  with 28 U.S.C. § 636(c), Fed. R. Civ. P. 73, pursuant to the consent of the

  parties. (ECF No. 30) The Court has carefully considered the Joint Motion (ECF No.

  37), the court file and applicable law, and is otherwise fully advised in the

  premises.

                                 I. BACKGROUND

        On June 20, 2021, Plaintiff filed the present action seeking unpaid overtime
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  wages under the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 2216(b). (ECF

  No. 18) According to Plaintiffs’ allegations, Defendant is a Florida limited liability

  company providing customer contact services to health plans, insurance companies,

  and other commercial entities. (ECF No. 18 at ¶ 6) Plaintiff was employed full-time by

  Defendant as a Customer Service Representative, from approximately June 2020

  through April 2021. (ECF No. 18 at ¶¶ 15, 18, 19) During her employment, Plaintiff

  alleges that she worked in excess of forty (40) hours per week during one or more

  workweeks, sometimes ten (10) hours or more in excess of forty (40) hours per week.

  (ECF No. 18 at ¶ 20-21)

        Additionally, Plaintiff alleges that Defendant would intentionally “shave”

  or reduce hours from her weekly total to avoid paying Plaintiff overtime pay. (ECF No.

  18 at ¶ 22) Once Plaintiff realized her hours were being reduced, she complained to

  Defendant’s management team. (ECF No. 18 at ¶ 24) Her hours were subsequently

  corrected to reflect the accurate hours worked for that one pay period but were not

  corrected as to the other pay periods where her hours were reduced. (ECF No. 18 at

  ¶¶ 25-29) On July 23, 2021, the Court denied Defendant’s Motion to Dismiss for

  Failure to State a Claim and alternate Motion for Summary Judgement (ECF No. 23)

  (ECF No. 35) The Motion is now ripe for review.

                                     II. Discussion

        In Lynn’s Food Stores, Inc. v. U.S. Dept. of Labor, the Eleventh Circuit Court of

  Appeals held as follows:

        “[t]here are only two ways in which back wage claims arising

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        under the FLSA can be settled or compromised by employees. First,
        under section 216(c), the Secretary of Labor is authorized to
        supervise payment to employees of unpaid wages owed to them....
        [Second,] [w]hen employees bring a private action for back wages
        under the FLSA, and present to the district court a proposed
        settlement, the district court may enter a stipulated judgment
        after scrutinizing the settlement for fairness.”

  Lynn’s Food Stores, Inc., 679 F.2d 1350, 1352-53 (11th Cir. 1982).

        In the instant Motion the parties pursue the second route outlined in Lynn’s

  Food Stores, and seek the Court’s approval of their proposed settlement agreement

  (ECF No. 37-1). Id. at 1353. “Before the Court may approve the settlement, it must

  scrutinize it to determine whether it is a fair and reasonable resolution of a bona fide

  dispute.” Hamilton v. Frito-Lay, Inc., No. 6:05-cv-592-Orl-22JGG, 2007 U.S. Dist.

  LEXIS 10287, at *3 (M.D. Fla. Jan. 8, 2007) (citing Lynn’s Food Stores, Inc., 679 F.2d

  at 1354-55). However,”[w]here the employer offers the plaintiff full compensation on

  his FLSA claim, no compromise is involved and judicial approval is not required.” Id.

  (citing Mackenzie v. Kindred Hosps. E., L.L.C., 276 F. Supp. 2d 1211, 1217 (M.D. Fla.

  2003)).

        Courts in this Circuit have adopted the factors used in approving settlements

  of class action law suits when determining whether an FLSA settlement is fair and

  reasonable. See e.g., Id. at 3-4. Those factors are as follows:

        (1) the existence of fraud or collusion behind the settlement; (2) the
        complexity, expense, and likely duration of the litigation; (3) the stage of
        the proceedings and the amount of discovery completed; (4) the
        probability of plaintiff's success on the merits; (5) the range of possible
        recovery; and (6) the opinions of the counsel.

  Id. at 4 (citing Leverso v. S. Trust Bank of Ala., Nat. Assoc., 18 F.3d 1527, 1531 n.6

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  (11th Cir. 1994)).


        As an initial matter the Court notes that the parties’ proposed settlement, offers

  Plaintiff $1,900 which is $100 more than Plaintiff’s total estimate of her damages

  including liquidated damages. (ECF No. 37 at 7) In Mackenzie v. Kindred Hosps. E.,

  L.L.C., the Court held that there was no need for judicial scrutiny of a settlement

  agreement when the defendant represented that it had offered the plaintiff more than

  full relief, and the plaintiff did not dispute this representation. Mackenzie, 276 F.

  Supp. 2d at 1217. In the instant case as in Mackenzie, Defendant represents that it

  is offering Plaintiff $100 more than Plaintiff’s own estimate of her damages including

  any liquidated damages. (ECF No. 37 at 7) Accordingly, on this basis alone it would be

  proper for the Court to find that the proposed settlement is reasonable and requires

  no further judicial scrutiny. See Mackenzie, 276 F. Supp. 2d at 1217.

        However, in the interest of thoroughness the Court will also analyze the

  settlement under the factors outlined above, to determine if the settlement is fair

  and reasonable. First, the Court finds that there was no fraud or collusion behind the

  proposed settlement because each party was independently represented by counsel

  who had extensive experience in litigating FLSA claims and the amount of damages

  to be paid to Plaintiff exceed the total amount Plaintiff alleged. (ECF No. 37 at 5); see

  e.g., Helms v. Cent. Fla. Reg. Hosp., No. 6:05-cv-383-Orl-22JGG, 2006 U.S. Dist. LEXIS

  92994, at *11-12 (M.D. Fla. Dec. 21, 2006) (finding the settlement of an FLSA claim to

  be reasonable when there was no suggestion of collusion, the parties were represented


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  by independent counsel, and the settlement amount was 100 percent of plaintiff’s

  unpaid overtime wages plus liquidated damages).

         Second, the Court finds that the parties continue to disagree over the merits of

  the claims asserted by Plaintiff in regard to her alleged unpaid overtime. (ECF No.

  37 at 5) The Court finds that if this matter were to proceed the Parties would bear

  the expense of litigating these disputed issues which outweigh the value of the

  underlying case itself. Accordingly, this settlement is a reasonable means for the

  parties to resolve their dispute and minimize further risks and litigation costs.

         Third, the parties state that they have exchanged sufficient information relating

  to the claims and defenses to allow both sides to make an educated and informed

  analysis of the likely ultimate result in the case. (ECF No. 37 at 6-7) As neither party

  disputes this the Court finds no reason to doubt the veracity of this statement.

  Accordingly, this factor is also satisfied.

         Fourth, the Court finds that Plaintiff’s probability of success on the merits is

  uncertain. Plaintiff argues that Defendant did not correctly compensate Plaintiff for

  all overtime hours worked meanwhile Defendant contends that it can prove that

  Plaintiff was properly paid for all overtime hours worked. (ECF No. 37 at 7)

  Further, the Court notes that Defendant’s Motion to Dismiss for Failure to State a

  Claim and in the alternative for Summary Judgment was denied in this case

  demonstrating that there are issues which require further litigation. (ECF No. 35)

         Fifth, as discussed above, the Court finds that Defendant is offering to pay

  Plaintiff $1,900 which is $100 more than Plaintiff’s own estimate of her total

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  damages. (ECF No. 37 at 7) Sixth, the parties indicate that their counsel have

  extensive experience in litigating FLSA claims and that the parties weighed the

  opinions of their counsel in deciding to settle the instant case. (ECF No. 37 at 8)

  Accordingly, the Court concludes that these factors also weigh in favor of finding the

  proposed settlement to be fair and reasonable.

          Finally, the Court finds that the proposed attorneys’ fees to be paid to

  Plaintiff’s counsel are reasonable. In Bonetti v. Embarq Mgmt. Co., the Court held

  that:

          if the parties submit a proposed FLSA settlement that, (1) constitutes a
          compromise of the plaintiff's claims; (2) makes full and adequate
          disclosure of the terms of settlement ... ; and (3) represents that the
          plaintiff's attorneys' fee was agreed upon separately and without regard
          to the amount paid to the plaintiff, then, unless the settlement does not
          appear reasonable on its face or there is reason to believe that the
          plaintiff's recovery was adversely affected by the amount of fees paid to
          his attorney, the Court will approve the settlement without separately
          considering the reasonableness of the fee to be paid to plaintiff's counsel.


  Bonetti, 715 F. Supp. 2d 1222, 1228 (M.D. Fla. 2009). In the instant case the parties

  indicate that the attorneys’ fees and costs “were negotiated separately from and

  without regard to the settlement sums being paid to Plaintiff.” (ECF No. 37 at 8-

  7) Neither party disputes this and as discussed above, as Plaintiff is being fully

  compensated for her underlying claim, there is no indication that the agreement for

  attorneys’ fees had any negative impact on the amount of Plaintiff’s recovery.

  Accordingly, the Court approves the Parties proposed settlement (ECF No. 37-1),

  without separately considering the reasonableness of the fee to be paid to Plaintiff’s


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  counsel. See Bonetti, 715 F. Supp. 2d at 1228.

                                   III. CONCLUSION

          Having carefully considered the Parties’ Joint Motion for Approval of

  Settlement and Motion to Dismiss the Case with Prejudice (ECF No. 37), the court

  file, and applicable law, it is hereby,

          ORDERED AND ADJUDGED that the Parties’ Joint Motion for Approval of

  Settlement and Motion to Dismiss the Case with Prejudice (ECF No. 37) is GRANTED,

  the terms of which are set forth in detail in ECF No. 37-1. Accordingly, this case is

  DISMISSED WITH PREJUDICE. The Court shall retain jurisdiction over this

  matter in order to enforce the terms of the settlement agreement if necessary.

          DONE AND ORDERED at Fort Lauderdale, Florida this 20th day of October,

  2021.




  Copies to

  All Counsel of Record




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